131 F.3d 1255
    Lawrence E. TOLERSON, Appellant,v.AUBURN STEEL COMPANY, INC.Appellee.
    No. 97-1953EA.
    United States Court of Appeals,Eighth Circuit.
    Submitted Nov. 21, 1997.Decided Dec. 4, 1997.
    
      Larry J. Steele, Walnut Ridge, AR, for Appellant.
      Phillip D. Hout, Newport, AR, for Appellee.
      Before RICHARD S. ARNOLD, Chief Judge, McMILLIAN and BEAM, Circuit Judges.
      PER CURIAM.
    
    
      1
      This is an action under Title VII in which the plaintiff, Lawrence E. Tolerson, claims that the defendant, Auburn Steel Company, doing business as Arkansas Steel Associates, discharged him on account of his race.
    
    
      2
      The District Court1 granted the defendant's motion for summary judgment and dismissed the complaint.  Tolerson appeals.  Having read the briefs and heard oral argument, we are satisfied that no error of law has been committed.  We have nothing of substance to add to the thorough and soundly reasoned opinion of the District Court, and we do not believe that a more extended opinion on our part would have substantial precedential value.  Accordingly, the judgment is
    
    
      3
      Affirmed.
    
    
      
        1
         The Hon.  Garnett Thomas Eisele, United States District Judge for the Eastern District of Arkansas
      
    
    